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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK



  In re HAIN CELESTIAL HEAVY METALS       Case No. 2:21-cv-0678-JS-AYS
  BABY FOOD LITIGATION

  This document relates to: All Actions   THE STEWART MOVANTS’ REPLY
                                          MEMORANDUM IN SUPPORT OF
                                          THEIR MOTION FOR APPOINTMENT
                                          OF LORI G. FELDMAN AND REBECCA
                                          A. PETERSON AS INTERIM CO-LEAD
                                          COUNSEL


                                          ORAL ARGUMENT REQUESTED
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        Plaintiffs Nicole Stewart, Elizabeth Agramonte, Summer Apicella, Charlotte Willoughby,

 Lee Boyd, Kelly McKeon, Renee Bryan, Marilyn Cason, Najah Henry, Chanel Jackson, Alexis

 Dias, and Holly Buffinton (collectively, the “Stewart Movants”), by and through their undersigned

 counsel, respectfully submit this reply memorandum of law in response to the following

 oppositions to the motions for appointment of interim lead counsel, titled as follows: (1) Plaintiffs

 Emily Baccari, Dominick Grossi, Heather Hyden, Haley Sams, and Vito Scarola’s Opposition To

 Motions For Leadership Appointment (“Scott+Scott”) (Dkt. 84); and (2) Response In Further

 Support Of The Motion To Appoint Labaton Sucharow As Interim Lead Counsel (“Labaton”)

 (Dkt. 89.)1 No other parties filed oppositions to the Stewart Movants’ motion.

 I.      INTRODUCTION

        Both Scott+Scott and Labaton oppose appointment of all other leadership slates for the

 following common reasons: (1) the Court should appoint only a single lead counsel; and (2) the

 size and depth of their respective firms demonstrates that they should be appointed as sole lead

 counsel. Scott+Scott and Labaton are each capable and experienced counsel. This case and its

 complexities, however, invite and support the appointment of the Interim Co-Lead Counsel and a

 three-person Executive Committee proposed by the Stewart Movants because of their heavy metal

 class action litigation experience.

        As discussed in the Stewart Movants’ opening brief (Dkt. 59-1), the leadership slate they

 propose is the most qualified because of the recent (and on-going) class action litigation

 concerning heavy metals and other contaminants in food (among other reasons). These cases will

 involve complex issues with which the Stewart Movants’ counsel are highly familiar. For example,


 1
  On June 14, 2021, the Court consolidated into the Consolidated Action the Lawrence, Albano
 and Andrews multi-defendant actions, ordering a single defendant amended complaint be filed
 within fourteen (14) days. (Dkt. 90.) An amended complaint was filed on June 17, 2021 on behalf
 of Plaintiffs Philippe and Rose in the Albano action.
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 Plaintiffs may need to proffer expert opinions on the issues of quality control (including

 manufacturing processes, supplier approval and monitoring, and formulation), testing, damages,

 and bioaccumulation. The scope of discovery is expansive, covering significant supplier

 documents from approval communications and audits to Certificates of Analysis, Guaranteed

 Analysis, Ingredient Specifications and Bills of Ladings for all ingredients used during the Class

 Period in the products. There will also be discovery relating to Hain’s internal quality control

 procedures, standard operating procedures, testing and formulation, including all changes made

 during the Class Period. And of course, the typical discovery in consumer protection cases that

 relate to marketing, packaging, sales, and consumer communications, and discovery related to the

 Congressional inquiry are required.2

        Although the issue of heavy metals in baby food has not yet been litigated under consumer

 protection laws, it is being litigated in the pet food cases being handled by the Stewart Movants’

 counsel. Having experienced the complexities and the significant amount of work in these pet food

 cases, the leadership slate the Stewart Movants propose is therefore justified. Any assumed

 “efficiencies” Scott+Scott and Labaton claim arises from a single lead structure are unfounded.

 Here, discovery alone will require assistance from numerous attorneys. Proposing a single lead

 structure simply due to the size of their firms is not and should not be dispositive here.3




 2
  One issue that has been raised in the briefing is whether the newly finalized FDA guidance as
 of August 2020 creates its own issues, but as that guidance was just finalized the majority of the
 Class Period is not subject to this regulation.
 3
   Additionally, having different firms participate would bring a more collaborative approach to
 litigating this case, as a one-firm leadership would not benefit from knowledge and experiences of
 other firms.


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 II.    THE STEWART MOVANTS’ COUNSEL ARE THE BEST SUITED TO LEAD
        THE CONSOLIDATED ACTION.

        A.      SCOTT+SCOTT SHOULD NOT BE APPOINTED SOLE LEAD COUNSEL.

        Scott+Scott requests that the Court appoint at least three (3) different law firms to

 leadership roles: one firm as sole Interim Class Counsel and two (2) firms with members on an

 Executive Committee. (Dkt. 84.) Yet, it asks the Court to reject the Stewart Movants’ leadership

 structure as inefficient because it proposes one additional Lead and one additional Executive

 Committee member from five (5) firms.4 In other words, the proposed leadership structures are

 similar in size (but as discussed below, not experience).

        As discussed supra, this case will involve complex issues beyond the typical defenses or

 issues of the straight-forward and commonly litigated mislabeled food class actions, contrary to

 what Scott+Scott suggests. The Stewart Movants’ counsel is well-versed in the issues that will

 likely arise due to their experience in the other heavy metal litigations and are already

 knowledgeable regarding the specialized subject matters involved. Additionally, the Consolidated

 Action currently involves nineteen (19) separate actions filed by more than forty (40) plaintiffs

 who purchased varying Hain baby food products and could become even larger. Thus, the

 leadership structure the Stewart Movants propose is warranted here. Further, the Stewart Movants




 4
   While Scott+Scott now argues for appointment of a sole lead counsel, Scott+Scott regularly
 advocates for and serves on multi-firm lead counsel slates in cases of similar complexity. See
 Bellwether Community Credit Union, et al v. Chipotle Mexican Grill, Inc., No. 17-cv-1102 (D.
 Colo.) (Dkt. 37 at 4) (appointing Scott+Scott co-lead counsel and a five (5) law firm executive
 committee); In re Cigna Corp. PBM Litig., Case No. 16-CV-1702 (D. Conn.) (Dkt. 20 at 3)
 (appointment of a co-lead counsel and a seven (7) law firm executive committee with Scott+Scott
 as Chair); and In re Robinhood Outage Litigation, No. 20-cv-01626-JD (N.D. Cal.) (July 22, 2020)
 (appointing co-lead counsel, a liaison counsel, and an eight (8) firm executive committee on which
 Scott+Scott serves).



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 have already shown their leadership structure will not cause unnecessary delays, as they have

 worked efficiently to streamline issues, apportion work accordingly, and advance the case.5

        Scott+Scott contends that the first-filed action factor should be ignored. However, the

 Stewart Movants submit that this is but one of many factors supporting their appointment because

 they not only filed the first case but have been advancing this litigation ever since—factors to be

 considered when (as here) all counsel is qualified and experienced. Given the demonstrated

 leadership and relevant experience in heavy metal litigation, numerous factors support the

 appointment of the Stewart Movants.

        B.      LABATON SHOULD NOT BE APPOINTED SOLE LEAD COUNSEL.

        Appointment of two (2) Co-Lead counsel and three (3) Executive Committee members

 (five (5) lawyers and firms in total) is entirely appropriate and proper here. Labaton concedes as

 much because despite its contention that “appointing a committee of firms is unnecessary when

 one firm amply satisfies the Rule 23(g) requirements,” (Dkt. 89 at 5), it also supports a leadership

 structure consisting of three firms (Labaton, Cohen Milstein and Gibbs).

        The Stewart Movants’ proposed structure is clearly delineated and takes into account the

 complexities of this case as described in detail above. Labaton’s effort to convince the Court that

 its firm’s two designated attorneys are sufficient is belied by its own proposal to work with two

 other firms. But even if it worked alone, as discussed supra, this is a complex class action that will

 require considerable experience, time, and effort. While Labaton no doubt can internally staff this


 5
   Haynie v. Cornell University, No. 3:20-CV-467, 2020 WL 6043947, at *1 (N.D.N.Y. Oct. 13,
 2020), is not instructive. In Haynie, there were only three cases consolidated and the proposed
 leadership structure was to appoint three law firms as co-lead counsel and another firm as local
 counsel. In rejecting the proposed structure, the court found a seven-week delay in filing a
 consolidation motion demonstrated inefficiency. Id. at *3. The opposite is true here due to the
 Stewart Movants’ efforts to promptly reach out to all counsel involved and file the consolidation
 motion, which the Court granted. None of the competing movants took that initiative.


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 case with a cadre of its own associates, this would deprive the class of the critical heavy metal

 litigation experience brought by the Stewart Movants, a result that is not in the best interests of

 class members. Moreover, given the large number of firms involved and the benefits to the class

 of diverse viewpoints and experience, there is no reason to appoint a single firm to run the entire

 litigation by itself.

         Labaton also argues that it should be appointed sole lead counsel because it allegedly

 “spoke with former employees of Defendant and those responsible for drafting the Congressional

 Report.” (Dkt. 89 at 1.) To the extent that such information becomes relevant and has not been

 already obtained, Labaton can share it with whomever the Court appoints given that its clients will

 likely be included in the Consolidated Amended Complaint. But at this point it is unknown what

 information Labaton has developed from such interviews or what value it has to the class.

 III.    CONCLUSION

         For the foregoing reasons, the Stewart Movants respectfully submit that the Court appoint

 Lori G. Feldman (George Gesten McDonald, PLLC) and Rebecca A. Peterson (Lockridge Grindal

 Nauen P.L.L.P.) as Interim Co-Lead Counsel, and Catherine Sun-Yung Smith (Gustafson Gluek

 PLLC), Stephen R. Basser (Barrack, Rodos & Bacine), and Susana Cruz Hodge (Lite DePalma

 Greenberg & Afanador, LLC) as Executive Committee members.




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  Dated: June 17, 2021             Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on June 17, 2021, the foregoing was filed

  electronically. Notice of this filing will be sent to all parties by operation of the Court’s electronic

  filing system. Parties may access this filing through the Court’s system.


                                                  /s/ Rebecca A. Peterson
                                                          Rebecca A. Peterson




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